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The following constitutes the ruling of the court and has the force and effect therein described.




Signed November 22, 2021
______________________________________________________________________




                               IN THE UNITED STATES BANKRUPTCY COURT
                                 FOR THE NORTHERN DISTRICT OF TEXAS
                                           DALLAS DIVISION

                                                                          §
        In re:                                                            § Chapter 11
                                                                          §
        HIGHLAND CAPITAL MANAGEMENT, L.P., 1                              § Case No. 19-34054-sgj11
                                                                          §
                                            Reorganized Debtor.           §

         ORDER GRANTING CONSOLIDATED MONTHLY, THIRD INTERIM, AND FINAL
          APPLICATION OF WILMER CUTLER PICKERING HALE AND DORR LLP FOR
             ALLOWANCE OF COMPENSATION FOR SERVICES RENDERED AND
            REIMBURSEMENT OF EXPENSES AS REGULATORY AND COMPLIANCE
          COUNSEL FOR THE PERIOD OCTOBER 16, 2019 THROUGH AUGUST 11, 2021

                 The Court conducted a hearing on November 17, 2021 (the “Hearing”) to consider the final

    application [Docket No. 2907] (“Final Application”) 2 of Wilmer Cutler Pickering Hale and Dorr

    LLP (“WilmerHale”) for final allowance of compensation for professional services rendered in the

    above-captioned case during the period from October 16, 2019 through August 11, 2021 (the

    “Final Compensation Period”). The Court has reviewed the Final Application and finds that: (a)


    1
     The Reorganized Debtor’s last four digits of its taxpayer identification number are (6725). The headquarters and
    service address for the above-captioned Reorganized Debtor is 100 Crescent Court, Suite 1850, Dallas, TX 75201.
    2
        Capitalized terms used, but not otherwise defined herein, shall have the meanings ascribed to them in the Application.
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the Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334; (b) notice of the

Final Application and the Hearing were adequate under the circumstances and the Order (i)

Confirming the Fifth Amended Plan of Reorganization (as Modified) and (ii) Granting Related

Relief [Docket No. 1943] with respect to the Debtor’s Fifth Amended Plan of Reorganization of

Highland Capital Management, L.P. [Docket No. 1808]; and (c) all persons with standing have

been afforded the opportunity to be heard on the Final Application. The Court has also reviewed

and considered (i) the Omnibus Objection and Response of NexPoint Advisors, L.P., Creditor and

Party in Interest under 11 U.S.C. § 1109(b), Pursuant to 11 U.S.C. § 330(a) and Federal Rule of

Bankruptcy Procedure 2016 to Final Fee Applications Submitted by Various Estate Professionals

[Docket No. 2977] filed by NexPoint Advisors, L.P.; (ii) the Reply of Debtor Professionals to

Omnibus Objection of NexPoint Advisors, L.P., to Final Fee Applications Submitted by Various

Estate Professionals [Docket No. 2988]; (iii) the Supplemental Omnibus Response of NexPoint

Advisors, L.P., Creditor and Party in Interest under 11 U.S.C. § 1109(b), Pursuant to 11 U.S.C. §

330(a) and Federal Rule of Bankruptcy Procedure 2016 to Final Fee Applications Submitted by

Various Estate Professionals [Docket No. 3015]; (iv) the Supplemental Reply of Debtor

Professionals to Supplemental Omnibus Response of NexPoint Advisors, L.P., to Final Fee

Applications Submitted by Various Estate Professionals [Docket No. 3020]; (v) the documents

identified on the Reorganized Debtor’s Witness and Exhibit List with Respect to Hearing on Final

Fee Applications to Be Held on November 17, 2021 [Docket No. 3017]; and (vi) the arguments of

the parties and evidence submitted at the Hearing.

       In addition to the findings of fact and conclusions of law set forth on the record at the

Hearing, the Court has considered the nature, the extent, and the value of the services set forth

                                                 2
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in the Final Application and has taken into account all relevant factors, including the factors set

forth in 11 U.S.C. § 330(a)(3)(A) through (F), Johnson v. Georgia Highway Express, Inc., 488

F.2d 714 (5th Cir. 1974), and applicable law, and finds that the fees requested in the Final

Application constitute reasonable compensation for actual, necessary, services rendered by

WilmerHale on behalf of the Debtor pursuant to 11 U.S.C. § 330(a)(1)(A); the expenses

requested in the Final Application constitute actual, necessary expenses pursuant to 11 U.S.C. §

330(a)(1)(B); and that all objections to the Final Application are overruled for the reasons set

forth on the record of the Hearing.

       Accordingly, it is HEREBY ORDERED THAT:

       1.      WilmerHale is granted final allowance of compensation in the amount of

$2,645,729.72 for the Final Compensation Period.

       2.      WilmerHale is granted final allowance of reimbursement for expenses incurred in

the amount of $5,207.53 for the Final Compensation Period.

       3.      The Debtor is authorized and directed to remit payment to WilmerHale of such final

allowed compensation and expense reimbursement amounts totaling $2,650,937.25, less any and

all amounts previously paid on account of such fees and expenses.

       4.      This Court retains exclusive jurisdiction with respect to all matters arising from or

related to the implementation, interpretation, and enforcement of this Order.

                                      ###END OF ORDER###




                                                 3
